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                                 IN THE UNITED STATES DISTRICT COURT
                                  FOR THE NORTHERN DISTRICT OF OHIO
                                           EASTERN DIVISION


DEVELOPERS DIVERSIFIED                                  )   CASE NO. 1:06-CV-0234
REALTY CORP.,                                           )
                                                        )   Judge Sara Lioi
                    Plaintiff,                          )   Magistrate Judge Vecchiarelli
                                                        )
         v.                                             )
                                                        )   JOINT STIPULATION OF
DR. NICHOLAS S. VIDALAKIS, et al.,                      )   DISMISSAL OF ALL CLAIMS AND
                                                        )   COUNTERCLAIMS WITH
                    Defendants.                         )   PREJUDICE

         Plaintiff-Counterclaim Defendant Developers Diversified Realty Corp., Defendants-

Counterclaim Plaintiffs Dr. Nick S. Vidalakis, individually and as trustee for the Nick S. and

Nancy G. Vidalakis Family Trust; Nancy G. Vidalakis, trustee for the Nick S. and Nancy G.

Vidalakis Family Trust; Perry N. Vidalakis, individually and as trustee for the Perry N. Vidalakis

Revocable Trust; John N. Vidalakis, individually and as trustee for the John N. Vidalakis

Revocable Trust; Nicole K. Vidalakis, trustee for the Nicole K. Vidalakis Revocable Trust;

George N. Vidalakis, trustee for the George N. Vidalakis Revocable Trust; J. Rees Jensen, and

JRJ Investments, L.C. and Counterclaim Defendants Scott Wolstein, Dean Adler, Terrance

Ahern, William Schafer, James Schoff, Joan Allgood, David Jacobstein and Robert Gidel

(collectively the “Parties”), pursuant to Rule 41(a) and (c), jointly agree and request that the

Court enter an order dismissing all of the claims and counterclaims pending in this action with




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prejudice, each of the Parties agreeing to bear his, her or its own costs and fees.

                                               Respectfully submitted,



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Plaintiffs Dr Nick S. Vidalakis, Nancy G.       Scott Wolstein, Dean Adler, Terrance Ahern,
Vidalakis, Perry N. Vidalakis, John N.          William Schafer, James Schoff, Joan Allgood,
Vidalakis, Nicole K Vidalakis, George N.        David Jacobstein and Robert Gidel
Vidalakis, J. Rees Jensen and JRJ
Investments LC




IT IS SO ORDERED.

Dated: September 8, 2008                 HONORABLE SARA LIOI
                                         UNITED STATES DISTRICT JUDGE




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